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11/09/2017 09:13 AM CST




                                                          - 98 -
                                  Nebraska Supreme Court A dvance Sheets
                                          298 Nebraska R eports
                                        IN RE INTEREST OF BECKA P. ET AL.
                                                 Cite as 298 Neb. 98



                          In   re I nterest ofBecka P. et al., children under
                                             18 years of age.
                                 State of Nebraska, appellee, v. Robert P.
                                       and Veronica M., appellants.
                                                     ___ N.W.2d ___

                               Filed October 27, 2017.   Nos. S-16-1131 through S-16-1133.

                1.	 Juvenile Courts: Appeal and Error. An appellate court reviews juve-
                    nile cases de novo on the record and reaches a conclusion independently
                    of the juvenile court’s findings.
                2.	 Appeal and Error. On a question of law, an appellate court reaches a
                    conclusion independently of the court below.

                 Appeals from the County Court for Garden County: R andin
               Roland, Judge. Affirmed.
                    Robert S. Harvoy for appellant Robert P.
                 On brief, Michael R. Snyder, of Snyder &amp; Hilliard, P.C.,
               L.L.O., for appellants.
                    Philip E. Pierce, Garden County Attorney, for appellee.
                  Heavican, C.J., Wright, Miller-Lerman, Cassel, Stacy,
               K elch, and Funke, JJ.
                    Heavican, C.J.
                                    INTRODUCTION
                 After a dispositional hearing, the county court for Garden
               County, Nebraska, sitting as a juvenile court, declined to
               adopt a case plan and a court report recommended by the
               Department of Health and Human Services (DHHS). Among
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          Nebraska Supreme Court A dvance Sheets
                  298 Nebraska R eports
                IN RE INTEREST OF BECKA P. ET AL.
                         Cite as 298 Neb. 98
other instructions, the court ordered DHHS to update the chil-
dren’s immunizations. The children’s parents, Robert P. and
Veronica M., appeal. We affirm.
                 FACTUAL BACKGROUND
   Robert and Veronica are the parents of Becka P., Thomas
P., and Robert P., Jr. Prior to 2015, multiple claims were
made against Robert and Veronica, alleging physical neglect
of the children. The court concluded that these allegations
were unfounded. In one instance, Becka was removed from
the home for a time, but was returned and noncourt services
were provided. In another instance, services were offered
but rejected.
   In December 2015, the State filed juvenile petitions and
affidavits in support of those petitions, alleging that Robert
and Veronica had collectively been cited four times since
2013 for failure to use a child safety restraint. Evidence was
presented that one of Robert and Veronica’s children had been
involved in several automobile accidents while riding unre-
strained in the front seat while Robert was driving. One of
the accidents involved a fire, and another accident involved
a rollover, where it was determined that the child was sit-
ting unrestrained on Robert’s lap while he was driving. The
children were adjudicated; that adjudication was affirmed in
an unpublished memorandum opinion by the Nebraska Court
of Appeals on October 16, 2016, in cases Nos. A-16-351
through A-16-353.
   While the adjudication was on appeal, the juvenile court
appointed an educational surrogate for the children. Robert
and Veronica appealed. This court found that Robert and
Veronica were appealing from final orders and affirmed the
county court’s appointment, concluding that (1) the appeals
of the adjudication did not divest the juvenile court of juris-
diction to issue or rule on the various orders to show cause
and (2) the orders appointing the educational surrogate were
not premised on a finding of contempt; thus, Robert and
Veronica’s assertion that they should have been given the
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                Nebraska Supreme Court A dvance Sheets
                        298 Nebraska R eports
                      IN RE INTEREST OF BECKA P. ET AL.
                               Cite as 298 Neb. 98
ability to purge their contempt was misplaced. Robert and
Veronica did not challenge the merits of the educational sur-
rogate appointment.1
   While the appeals from the surrogate appointment were
pending, proceedings in the juvenile court continued. A dispo-
sitional hearing was held on November 10, 2016, on the DHHS
court report. In that report, DHHS recommended the continu-
ing permanency goal of family preservation, with custody of
the children to be returned to the parents and the surrogate
left in place to address educational concerns. The children’s
guardian ad litem testified that he did not agree with the DHHS
recommendation that custody of the children be returned to
Robert and Veronica.
   Following that hearing, the juvenile court declined to adopt
the DHHS recommendation. Instead, on November 10, 2016,
the juvenile court ordered that “[c]are, custody, and control . . .
remain with [DHHS]” for each child, and additionally ordered
various other directives, including specifically ordering that
“[s]ervices to be provided shall include, but not be limited to:
DHHS shall confirm the child’s immunizations are up to date,
and if not, shall have them made current w/DHHS paying for
the same if the parents and insurance are not able to pay for
the same.”
   It is from these orders that Robert and Veronica appeal.

                  ASSIGNMENT OF ERROR
  Robert and Veronica assign that the juvenile court was with-
out authority to order DHHS to immunize the children.

                   STANDARD OF REVIEW
   [1] An appellate court reviews juvenile cases de novo on the
record and reaches a conclusion independently of the juvenile
court’s findings.2

 1	
      In re Interest of Becka P. et al., 296 Neb. 365, 894 N.W.2d 247 (2017).
 2	
      In re Interest of Carmelo G., 296 Neb. 805, 896 N.W.2d 902 (2017).
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            Nebraska Supreme Court A dvance Sheets
                    298 Nebraska R eports
                IN RE INTEREST OF BECKA P. ET AL.
                         Cite as 298 Neb. 98
   [2] On a question of law, an appellate court reaches a con-
clusion independently of the court below.3
                           ANALYSIS
   On appeal, Robert and Veronica argue that the juvenile
court erred in ordering DHHS to have the children immunized,
because it lacked the authority to do so. Robert and Veronica
do not challenge the orders on constitutional or religious
grounds, but instead base their argument on Neb. Rev. Stat.
§ 43-285(1) (Reissue 2016), which provides in relevant part:
      When the court awards a juvenile to the care of the
      Department of Health and Human Services, an association,
      or an individual in accordance with the Nebraska Juvenile
      Code, the juvenile shall, unless otherwise ordered, become
      a ward and be subject to the legal custody and care of the
      department, association, or individual to whose care he or
      she is committed. Any such association and the depart-
      ment shall have authority, by and with the assent of the
      court, to determine the care, placement, medical services,
      psychiatric services, training, and expenditures on behalf
      of each juvenile committed to it.
   Robert and Veronica contend that the court lacks the power
to set its own conditions and, instead, can only “assent” to
decisions made by DHHS. Because DHHS did not recommend
that the children be immunized, and there is no evidence to
show that DHHS is concerned about the children’s health or
that the children will be attending public school, Robert and
Veronica argue that the court acted outside its authority.
   Robert and Veronica do not cite to Neb. Rev. Stat. § 43-288(Reissue 2016), which provides:
         If the court’s order of disposition permits the juvenile
      to remain in his or her own home as provided by sec-
      tion 43-284 or 43-286, the court may, as a condition or
      conditions to the juvenile’s continuing to remain in his or
      her own home, or in cases under such sections when the

 3	
      Id.                             - 102 -
           Nebraska Supreme Court A dvance Sheets
                   298 Nebraska R eports
                IN RE INTEREST OF BECKA P. ET AL.
                         Cite as 298 Neb. 98
     juvenile is placed or detained outside his or her home, as
     a condition of the court allowing the juvenile to return
     home, require the parent, guardian, or other custodian to:
        (1) Eliminate the specified conditions constituting or
     contributing to the problems which led to juvenile court
     action;
        (2) Provide adequate food, shelter, clothing, and medi-
     cal care and for other needs of the juvenile;
        (3) Give adequate supervision to the juvenile in the
     home;
        (4) Take proper steps to insure the juvenile’s regular
     school attendance;
        (5) Cease and desist from specified conduct and prac-
     tices which are injurious to the welfare of the juve-
     nile; and
        (6) Resume proper responsibility for the care and
     supervision of the juvenile.
        The terms and conditions imposed in any particular
     case shall relate to the acts or omissions of the juvenile,
     the parent, or other person responsible for the care of the
     juvenile which constituted or contributed to the problems
     which led to the juvenile court action in such case.
   At the time the juvenile court ordered that the children’s
immunizations be “made current,” the children were placed
in Robert and Veronica’s home. As such, the State argues that
under § 43-288(2), the juvenile court was authorized to require
DHHS to immunize the children.
   We agree. To hold otherwise would limit the powers of a
juvenile court to order DHHS and parents to undertake actions
for the betterment of juveniles and their families within the
juvenile court system. As such, we find no error in the juvenile
court’s orders.
                     CONCLUSION
  We affirm the judgments below.
                                                    A ffirmed.
